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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF TEXAS
                                    LAREDO DIVISION

USA,                                             §
                                                 §
          Plaintiff,                             §
VS.                                              §   CRIMINAL ACTION NO. L-05-1542-S2
                                                 §
ADRIANA CONCEICAO ALANO-DA                       §
SILVA,                                           §
                                                 §
          Defendant.                             §


                            REPORT AND RECOMMENDATION
                       OF THE UNITED STATES MAGISTRATE JUDGE

      The Magistrate Court submits this Report and Recommendation to the District Court
pursuant to 28 U.S.C. § 636(b)(3). This case has been referred, by order of the District Court, to
the United States Magistrate Judge for the taking of a felony guilty plea and the Federal Rule of
Criminal Procedure Rule 11 Allocution. All parties executed a waiver of the right to plead
guilty before a United States District Judge as well as a consent to proceed before a United
States Magistrate Judge.

      On October 13, 2005, the defendant and counsel appeared before the Magistrate Judge, who
addressed the defendant personally in open court and informed the defendant of the
admonishments under Rule 11 of the Federal Rules of Criminal Procedure and determined that
the defendant was competent to plead guilty and fully understood said admonishments.

      The defendant agreed to plead guilty to Count 4 of the Indictment (violation of Title 8,
United States Code, Section 1324 and Title 18, United States Code, Section 371). Any other
counts are to be dismissed at sentencing. No written plea agreement was entered. The Court
explained that the District Court may consult the Sentencing Guidelines promulgated by the
United States Sentencing Commission in determining the defendant’s sentence. The Court also
explained that the defendant could receive a term of supervised release. The Court explained the



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range of punishment with regard to imprisonment, fines, restitution, supervised release, and the
statutory fee assessment pursuant to the Victims of Crimes Act.

     The Magistrate Judge finds the following:

1.      The defendant, with the advice of his attorney, has consented orally and in writing to
        enter this guilty plea before the Magistrate Judge, subject to final approval and
        sentencing by the District Judge;

2.      The defendant fully understands the nature of the charges and penalties;

3.      The defendant understands his Constitutional and statutory rights and wishes to waive
        these rights;

4.      The defendant’s plea is made freely and voluntarily;

5.      The defendant is competent to enter this plea of guilty; and

6.      There is an adequate factual basis for this plea.

                                         Recommendation

     The Magistrate Court RECOMMENDS that the District Court accept the plea of guilty and

enter final judgment of guilt against the defendant.

                                             Warnings

     The parties may file objections to this Report and Recommendation. A party filing

objections must specifically identify those findings or recommendations to which objections are

being made. The District Court need not consider frivolous, conclusive, or general objections.

Battle v. United States Parole Comm’n , 834 F.2d 419, 421 (5th Cir. 1987) (quoting Nettles v.

Wainwright , 677 F.2d 404, 410 n.8 (5th Cir. 1982) (en banc)).

     A party’s failure to file written objections to the proposed findings and recommendations

contained in this Report within ten (10) days after being served with a copy of the Report shall

bar that party from de novo review by the District Court of the proposed findings and




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recommendations and, except upon grounds of plain error, shall bar the party from appellate

review of proposed factual findings and legal conclusions accepted by the District Court to

which no objections were filed. See 28 U.S.C. § 636(b)(1)(C); Thomas v. Arn, 474 U.S. 140,

150-53 (1985); Douglass v. United Services Auto. Ass’n,   79 F.3d 1415, 1428-29 (5th Cir. 1996)

(en banc).

    The Clerk is directed to send a copy of this Report and Recommendation to all parties.



    SIGNED this 13th day of October, 2005.




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